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                              UNITFD STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLOM               A

                          CASE N O . 12-14078X R-M ARTlNEZ/LYNC H



    UNITED STATES O F AG RICA,
                                                                          FILED Ly          D.C.


    SARAH TIPFUN                                                             FEB 15 2213
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                            Defendant.                                        7/l?J%L
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          H ad thism atterproceededtotrial,thegovernm entwouldhaveprovedthefollowingbeyond
    areasonabledoubt:

          From Decem ber2011 to October2012,Sarah TIPFUN conspired with others,including
    SATAPORN PAN OM W AN N A AY UTTAY A,a/k/a K im ,CHA TCHAI NAK ORNPR M ,a/lc/a
    Tony,and BOONTW G N UAM PATON ,a/k/a Tina,to fraudulently obu in United States alien
    regiskationreceiptcardsCtgreencards'')bypayingbribestoanagentandofficeroftheDepartment
    ofHomelandSecurityCtDHS'').UnbeknownsttoTIPFUN andherco-conspirators,theDHSagent
    wasacting in an undercovercapacity.

           A.     Background ofthelnvestigation

            The investigation began when DH S received a tip from a consdential informant that
    TIPFUN had approached aU nited Statescitizen aboutm arrying one ofherillegalworkers so the
    w orkercould obtain a green card. A s a result of thatinform ation,the confdentialinformant
    intoducedanundercoverDl'     ls1aw enforcem entagenttoTIPFUN onDecem berzz,2011.TIIeDH S
    agentw asposing asacor ptl    'm m l
                                       'grationoffcerw hocouldfraudulentlyobtainandsellgreencards
    to TP FUN . The DHS agentexplained thathecould acquire these green cardsby creating phony
    investigative files purporting to docum ent the green card applicants as w iG esses or victims.
    TIPFUN agreedtorecruitThaipeopleto buythegreen cards,andagreedtoapriceof$20,000per
    green card thatwasfraudulently obtined.TIPFUN agreed to pay halfofthefeeup-frontw hen the
    alien wasfm gerplinted and photographed by the DH S agent,and halfupon delively ofthe green
    card. TIPFU N told the DHS agentshe could introducehim to otherswho w erew illing to recruit
    additionalbuyersand facilitatethe purchase offraudulently obtained im m igration docum ents.
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           B.     TheDefendantsCharged in the Indictm ent

           Duringthecourse oftheconspiracy,TIPFUN purchased green cardsforfortp threealiens,
    m ostofwhom wereThaiNationalsand illegally presentin theUnited Sotes. Som eofthesealiens
    w orked forTIPFUN ,orw orked atother Thairestaurants in the Southem DiskictofFlorida and
    nearbycities.Otheraliensflew toFloddafrom asfaraway asVirginia,Illl ois,OhioandCalifom ia
    tobeprocessed forillegalgreen cards.Although theDHS agentchargedonly $20,000 pergreen
    card,TIPFUN charged mostofthealiens$25,000pergreen card.Asaresult,TIPFUN generally
    madeaprofitof$5,000foreachgreencardsold.TPFUN madethisprofitdespiterepeatedlytelling
    the DHS agentin recordd m eetingsthatshe wasnotcharging any additionalfees,and repeatedly
    tellingthatgreen card buyersthatshew asnotm aking anything on the dealand w asonly trying to
    ççhelp people.''

            During the conspiracy,the DH S agentw as inkoduced to other restaurant owners who
    recruited aliensto buy green cardsand otherwise participated in the schem e.Specitk ally,theDH S
    agentw asinkoducedtoTIPFUN 'SboyfziendaSatapornpAN oM W AN N A AY UTTAYA,akaK im ,
    who waspresentata11ofthem eetingsto processaliens.PAN OM W AN NA AY UTTAYA told the
    DH S agent that he owned a fried chicken resGurantin Gifford,Florida. During som e ofthe
    m eetings,PAN OM W AN N A AY UTTAYA helped TIPFUN by collecting copies of the aliens'
    paperwork and tiling them in a folder. PAN OM W AN N A AYUTTAYA also exchanged som e of
    thealiens'm oneyatthebank so theDH Sagentcouldbepaid in largerbillsasrequested,and assured
    the DH S agent tlmt paym ents had been cotm ted and/or double counted. PAN OM W AN NA
    AY IJFTAYA also em ailed som eofthe aliens'im m igration docum entsto theDH S agentusing an
    em ailaddressregistered to TIPFUN .A ttrial,the governm entcould prove thatPA NOM W AN NA
    AY UTTAYA recnzited five aliens to the schem e. There is no evidence thatPAN OM W AN NA
    AY UTTAYA chargedthebuyersherecnzited an additionalfeeforinkoducing them to TIPFUN and
    the DHS agent.Thereisno evidencethatPANOM W AN NA AY UTTAY A m adea profitfrom the
    sale ofthe green cards.

            TheDHS agentalso metChatchaiN Ar oltNplu l,akaTony,attheflrstm eeting toprocess
    aliens.TIPFUN told theDH S agentthatN AKORNPR M w asaresGurantownerfrom M elboum e,
    Floridawho wanted tobuy cardsbutw asconcernedaboutwhetherthecardswouldbereal.Atthe
    flrstm eeting to processaliens,NAK ORNPRM assisted the aliens in filling outtheirgreen card
    applications,and questioned the DHS agentaboutthe docum entation needed to obtin the green
    cards. Atthe end ofthe flrstm eeting,the DHS agentspoke w ith N AK ORNPRM privately and
    reassuredhim thatthecardsw ouldbegenuine.Onlune9,zolz,NAK olG pltAlm etwiththeDH S
    agent,TIPFUN andPM OG AN NA AU TAYA Z M eIbOUO e,Florida.N AKORN PRM asked
    the DHS agentto takepaym entplansfrom the aliensso m orealienscould buy green cards. W hen
    theDH Sagentexpressed reluctanceto do so,Nu oM pM lpersonallyguaranteedpam enttothe
    DHS agentifany alien failed to pay forthe green cards.TIPFUN and NAK ORNPRM also asked
    theD HS agentifhecould smugglealiensfrom Thailand.TheDH S agentresponded afflrmatively,
    butsaiditwould cost$60,000peralienandcouldonlybedonein groupsoffiveorm ore.Attrial,
    the governm ent could prove that NAK ORNPRM recnzited six aliens to the schem e. The
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    govemmentcouldalsoprovethatNAKORNPRAIchargedatleasttllreeofthesix aliens$2,500in
    addition to TIPFUN 'Sprice forinkoducing them to TIPFUN and theD HS agent.

            The DH Sagentwasalsointroducedto BoontingNu Ae ATfm ,akaTina.N UAM PA TON
    recruited fivealiensto buy green cards,andtransported aliensto and from them eetingsin her2010
    silverH ondaOdyssey,setforth illthe cdm inalforfeim reprovision ofthelndictm ent. Thereisno
    evidencethatNuAM pAr     lr N chargedthealienssherecruitedanadditionalfeeforintoducingthem
    to TIPFU N and theDH S agent.There isno evidencethatNUAM PATON m ade aprofitfrom the
    saleofthe green cards.

           C.     M eetingsforAliensto Buy G reen Cards

          TIPFU N arranged the firstm eeting foraliensto buy green cardsatherresidence in V ero
    Beach, Florida on January 9, 2012. TIPFUN was present along with PANO M W AN N A
    AYUTTXYA and NAKORNPRM .TwoThaialiens,whohadbeen transportedtothemeetingby
    NUAM PA TON , were also present. The aliens w ere fm gerprinted and provided passport
    photographsandcom pletedgreencardapplicationstotheDH Sagent.TIPFUN andNAlooltNpltAl
    helpedthealiensfilloutthegreen cardapplications.TIPFUN thenpaidtheDHSagent$20,000as
    a down paym entforthetwo green cards.

           The second m eeting foralienstobuy green cardsoccurred on oraboutJanuary 20,2012 at
    arestaurantownedbyTllv tm inFortPierce,Florida.TIPFUN,PAN OM W AN NA AY UTTA YA
    and three Thai aliens m et with the DH S agent to buy green cards. The three aliens were
    fm gerplinted and photogmphedby theDHS agent,andprovided completedgreen cardapplications
    totheDHSagent.TIPFUN paidtheDHS agent$30,000asadownpaymentfortllreegreencards.

           The nextm eeting foraliensto buy green cardsoccurred atTIPFU N 'S residence in V ero
    Beach,Floridaon oraboutFebrtzary 10,2012.TIPFU N,PANOM W AN N A AYUTTAY A and two
    aliens m et with the DHS agent to buy green cards. The two aliens w ere fm gerpdnted and
    photographedbytheDHS agent,andprovided com pleted greencard applicationstotheDH S agent.
    TIPFUN paidtheDHSagent$20,000 asadownpaymentfortwogreen cards.

           The nextm eeting foraliensto buy green cardsoccurred atTIPFU N 'S residence in V ero
    Beach,Florida on oraboutApril19,2012. TIPFUN ,PAN OM W AN NA AY UTTAYA ,and five
    aliensm etwith theD HS agentto buy green cards.Thealiensw erefm gerpdnted and photographed
    by the DH S agent,and provided completed green card applications to the D HS agent. SARAH
    TIPFUN paidtheDHSagent$50,000 asadownpaymentforfivegreen cards.

           Throughoutthese flrstm eetings,TIPFUN repeatedly stated to theDH S agentthatshe had
    m orepeoplew howanted to buy green cards,butw erew orried thatthe cardswould notbegenuine.
    Once they received the flrstgreen cards and conflrm ed thatthe green cardsw ere real,TIPFUN
    assuredthatmanymorewouldjoininthescheme.


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            On oraboutM ay 24,2012,the DH S agentdelivered five United Sttesgreen cardsforthe
    ftrstfive individualswho had been processed. The DHS agentm etwith TIPFUN ,PAN OM W AN
    NA AY UTTA YA,NUAM PATON and thetwo alienswho had beenprocessed on January 9,2012
    atTIPFUN 'Sresidenceto deliverthe green cards. Asbefore,NU AM PATON transported the two
    aliensto the m eeting.TheD HS agentgave the two aliensgreen cards in theirnam es. The DH S
    agentgavetherem aining three green cardsto TIPFUN . During the m eeting,PANOM W AN NA
    AY UTTAYA inspected oneoftheillegallypurchasedgreen cardsandcompared itto hisowngreen
    cardtodeterminewhetherthefraudulently obu ined card appearedtobeauthentic.N UAM PATON
    and TIPFUN asked the DHS agentwhatthe aliensshould say ifasked when traveling how they
    oblined their green cards. The D HS agent said they should say it was a tidiversity visa.''
    N UAM PA TON told theDH S agentthatsheintendedtobring threem orealiensto thenextm eeting
    tobuygreen cards.TIPFUN paidtheDHS agent$40,000 asafmalpaymentforfourgreencards
    and said shew ould providea fm alpaym entforthe fifth green card ata laterdate.

           The nextm eeting foraliensto buy green cardsoccurred atTIPFU N 'Sresidence in Vero
    Beach, Florida on or about M ay 30, 2012. TIPFUN , PANOM W AN NA AY UTTAY A,
    NUAM PA TON and eightaliensm etw ith the DHS agentto buy green cards. Three ofthe aliens
    weretransported byN UAM PATON .Thealiensw ere fm gerprinted and photogmphedby theDH S
    agent,and provided completed green card applicationsto the DH S agent.TIPFU N paid the DH S
    agent$80,000 as adown paymentforeightgreen cards. TIPFUN also paid the DHS agentan
    additional$10,000 asafmalpaymentforoneofthegreen cardspreviously receivedon M ay 24,
    2012.

           The nextm eeting foraliens to buy green cardsoccurred atTIPFU N 'S residence in Vero
    Beach,Florida on oraboutJune 27,2012. TIPFUN ,PANOM W AN N A AY UTTAYA and four
    aliensm etwiththeD HS agentto buy green cards.Thealiensw erefm gem rinted and photov aphed
    bytheDH S agent,andprovided com pleted greencard applicationsto theD HS agent.TIPFUN paid
    theDHS agent$30,000asadownpaymentforthreeofthegreen cards. Approximately aweek
    later, a$3,000depositwasmadeinto abank accountsetupby theDHS agentasapartialdown
    paym entforthe fourth green card.

           Thenextm eetingtobuy greencardsoccurredM TIPFUN 'SresidenceinveroBeach,Florida
    on oraboutJuly 10,2012.TIPFUN ,PAN OM W AN N A AYUTTAY A and onealien m etw ith the
    DH S agentto buy a green card.The alien w asfmgem rinted and photographed by theDH S agent,
    and provided a completed green card application to the DH S agent.TIPFUN paid the DHS agent
    $10,000asadownpaymentforonegreencard.

           A fterthem eetingonluly 10,2012,TIPFUN andPAN OM W AN NA AYUTTAYA kaveled
    to Thailand. On or aboutJuly 26,2012,the DH S agentadvised TIPFUN thatgreen cardshad
    arrived for the two aliens who purchased illegalgreen cards on Febrtzary 10,2012. TIPFU N
    arranged forthetwoaliensto m eetwith theDH S agentatTIPFU N 'SThairestaurantin FortPierce,
    Florida. The DHS agentm etwith the two aliensand delivered green cardsin theirnames. The
    alienspaid $20,000totheDHSagentasfmalpaymentfortwo greencards.


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            W hileTIPFUN andPAN OM W AN NA AY IJTTAYA w ereinThailand,theDHS agenttold
    TIPFUN thattherem aining green cardswould arrive in October2012.TIPFU N responded thatshe
    would ret'urn to the United States to obtain the green cards. O n or about Septem ber6,2012,
    PAN OM W AN N A AY LJTTAYA ,USiIV anem ailaccountregisteredtoTIPFIJN,senttheDHS agent
    an em ailstating thatten m ore peoplew anted to buy green cards. TIPFU N also discussed a group
    from Tam pa,Florida thatwas interested in buying cards,as well as a group from California.
    TIPFUN and theDH S agentagreed to processmorepeopleforgreen cardsonceTIPFUN returned
    to the United States.

           On oraboutOctober2,2012,TIPFUN and PAN OM W AN N A AY UTTAYA m etwith the
    DH S agentatTIPFUN 'Srestaurantin Vero Beach,Florida to discussthe purchase ofadditional
    green cards. Duling the m eeting,SAR AH TIPFUN asked ifshe could pay a reduced fee forone
    person.TheDHS agentagreed. SARAH TIPFUN agreed to deposit$7,000 aspaymentforthat
    individualintotheDH S agent'sbankaccount.On oraboutoctober4,2012,adepositintheam ount
    of$7,000wasmadeintothebank accountdesignatedbytheDHS agent.

            On oraboutoctobers,2012,TIPFU N,PAN OM W AN NA AY UTTAY A,N AKORN PRM ,
    N UA M PATON ,and fifteen aliensm etw ith theD HS agentatTIPFUN 'Srestaurantin V ero Beach,
    Florida to buy green cards. The fifteen alienswere fm gerprinted and photographed by the DHS
    agent,and providedcom pleted green card applicationsto the DHS agent.Threeofthe alienswere
    recruited byN AKORNPRM . Two ofthealienswere recnzited byN UAIM PATON .TIPFUN paid
    theDHSagent$133,000 asadownpaymentforfifteen green cards.

         During the m eetings described above, the DH S agent repeatedly told TIPFUN ,
    PAN OM W AN NA AY UTTAYA ,N AKORNPR M ,N UAM PA TON andthealiensthatthey should
    nottellanyonehow theyobuinedthegreencards,oreveryonecouldgotojailforvisafraud.The
    DH S agentalso stated thatheobGined thegreen cardsby submitting a falsestory claim ing thatthe
    alienshad assisted the governm entasw itnessesin an investigation.The defendantsand the aliens
    knew the story was untrue. N evertheless, TIPFUN , PAN OM W AN N A AYUTTAYA ,
    NAK ORNPRAI,and NUAM PATON continued to recruitaliens to buy green cards through the
    fraudulentschem e.

           D.O ctober 11,2012 TakeD own oflnvestigation and ArrestofDefendants

            Onoraboutoctober11,2012,TIPFUN,PAN OM W AN NA AY UTTAYA ,NAKORN PRAI,
    NUAM PATON and approxim ately Y entp five alienswho had previously purchasi green cards
    m etw ith the DH S agentatTIPFUN 'Srestaurantin V ero Beach,Florida. Thedefendantsand the
    aliensbelieved thepurpose ofthem eetingw asfortheD HS agentto delivergreen cards.The DHS
    agentw asaccom panied by a Thai1aw enforcementofficer,also acting in an undercovercapacity.
    W ith theThaiofficertranslating into Thai,the DHS agentexplained to everyonepresentthatthe
    green cardswerebeingobtainedfraudulently,and they wouldgo tojailiftheywerecaught.The
    DH S agentstated thatifanyonedid notw anttoparticipate,hewould givethem a reftmd and they
    could leave. Noneofthedefendantsoraliensrequested a refund ordeclined to participate.


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    The DH S agentasked TIPFU N aboutthem oney forthe green cards. TIPFUN indicated that she
    had $165,000 asa fmalpaym entforthe green cards,butdid nothavethetotalamountbecause
    NU AM PATON had notpaid heryet. TheDH S agenttold thedefendantsand aliensthathehad to
    go getthegreen cardsfrom anotherlocation.W hen the DH S agentand Thaiundercoverleft,1aw
    enforcem ent entered the restaurant and detained the defendants.    N AKORNPR M hid
    approximately$3,500tmderhischair.Oneof-fllv lm 'spursesconoinedapproximately$142,000;
    anotherofTIPFUN'Spursesconlinedapproximately$22,650.NUAM PATON 'Spursecontained
    approximately $38,084. Thesemoniesare setforth in the criminalforfeittlre provision ofthe
    Indictm ent.




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